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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION


LISA DODSON JONES                                                            PLAINTIFF(S)


VERSUS                                            CIVIL ACTION NO. 3:18CV145-MPM-RP


MERCHANTS & FARMERS BANK OF
HOLLY SPRINGS, MISSISSIPPI, ET AL                                          DEFENDANT(S)


                                 RULE 16 INITIAL ORDER

      The court will conduct a Case Management Conference (CMC) in this action on
September 13, 2018 at 11:00 a.m. before:

                     Magistrate Judge Roy Percy
                     911 Jackson Avenue, Room 242
                     Oxford, MS 38655
                     Telephone: (662) 234-3114

Counsel are required to attend IN PERSON and may be accompanied by the parties.

PLEASE NOTE: Counsel must use the latest version of the Case Management Order Form
on the court web site at http://www.msnd.uscourts.gov/forms/cs-mgmt-ordr
CMC Initial Order Revas Form No. 1 in the Uniform Local Civil Rules in discussions and
preparation for the CMC. Because the Form is updated regularly, counsel should always use the
link to the Form rather than saving the Form to counsel’s computer system. Do NOT print the
Form to PDF before sending it to the court; instead, save the document and forward it to the
court in that format so that the court can insert changes made at the Case Management
Conference.

                   FED. R. CIV. P. 26(F) ATTORNEY CONFERENCE

       AT LEAST twenty-one days before the CMC, counsel must confer in person or
telephonically and be prepared to report to the court:

       1.     The principal factual and legal issues in dispute;

       2.     The principal evidentiary basis for claims and defenses;
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       3.      The number of days required for trial, whether the parties intend to call experts,
               the total number and the fields of expertise likely to be necessary, and whether the
               case should be considered for Alternative Dispute Resolution (ADR);
       4.      Any motions whose early resolution would have significant impact on the scope
               of discovery or other aspects of the litigation;

       5.      What additional discovery is required beyond the voluntary disclosures and initial
               depositions of the parties, with designated time limitations;

       6.      Each of the eleven discrete matters related to electronically stored information
               specified in L.U.CIV.R. 26(e)(2)(B);

       7.      Whether all parties consent to jurisdiction by a magistrate judge;

       8.      The appropriate time for a L.U.CIV.R. 16(g) settlement conference;

       9.      Both settlement prospects and the costs of going through litigation and the appeal
               process, which counsel must explore fully with each other and their respective
               clients and represent to the court that they have done; and

       10.     The contents of a proposed case management order. The court will determine all
               deadlines at the Case Management Conference itself.

                      PROPOSED CASE MANAGEMENT ORDER
                     CONFIDENTIAL SETTLEMENT MEMORANDA

        Counsel must submit a proposed case management order by e-mail (NO FAXES) to the
magistrate judge, at judge_percy@msnd.uscourts.gov, no later than August 30, 2018. At the
same time counsel must also submit a memorandum (3-page maximum) with a brief explanation
of the case and a candid appraisal of the parties’ respective positions, including possible
settlement figures and a good faith estimate of the expense of carrying the litigation through trial
and the appellate process, if not settled. Counsel must have discussed, and will represent to the
court that they have in fact discussed, these costs with their respective clients and must be
prepared to candidly discuss them with the court. These memoranda are not to be exchanged,
will be viewed only by the court, will not become a part of the record and will be destroyed upon
the resolution of the case.

               CASE MANAGEMENT PLAN

       At the Case Management Conference, the court and the parties will:

       1.      Identify the principal factual and legal issues in dispute;




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 2.     Identify the alternative dispute resolution procedure which counsel intend to use,
        or report specifically why no such procedure would assist in the resolution of the
        case;
 3.     Indicate whether all parties consent to jurisdiction by a magistrate judge;

 4.     Review the parties’ compliance with their disclosure obligations and
 consider whether to order additional disclosures;

 5.     Determine whether there is discoverable ESI and, if so, the means by which it will
        be obtained and produced;

 6.     Determine whether there are any lienholders and whether they have been
        identified and contacted;

 7.     Determine whether there are any related bankruptcy proceedings which might
        affect the rights of the parties or the course of the case;

 8.     Determine whether early filing of any motions might significantly affect the scope
        of discovery or other aspects of the litigation, and provide for the staged
        resolution, or bifurcation of issues for trial consistent with FED.R.CIV.P. 42(b);

 9.     Determine the plan for at least the first stage of discovery; impose limitations on
        each discovery tool, time periods and other appropriate matters;

 10.    Determine the date for a settlement conference or mediation; and

 11.    Set appropriate deadlines for completion of discovery and filing motions and
        dates for the final pretrial conference and trial.

            CASE MANAGEMENT ORDER

 The court will enter a Case Management Order within seven days of the conference.

 This, the 27th day of July, 2018.




                                              /s/ Roy Percy_________________________
                                              UNITED STATES MAGISTRATE JUDGE




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